            Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 1 of 12



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

BAKERY AND CONFECTIONERY UNION            )
AND INDUSTRY INTERNATIONAL PENSION )
FUND                                      )
                                          )
                          and             )
                                          )
TRUSTEES OF THE BAKERY AND                )               Civil Action No. __________________
CONFECTIONERY UNION AND INDUSTRY )
INTERNATIONAL PENSION FUND                )
10401 Connecticut Avenue                  )
Kensington, MD 20895-3960,                )
                                          )
                          Plaintiffs      )
                                          )
                    v.                    )
                                          )
ENDICO POTATOES, INC.                     )
160 N. Mac Questen Pkwy                   )
Mt. Vernon, NY 10550,                     )
                                          )
                          Defendant       )
__________________________________________)

                                          COMPLAINT

                                           Introduction

       1.      This is an action to collect delinquent contributions and withdrawal liability that

the Defendant owes to the Plaintiffs. The action is brought pursuant to the Employee Retirement

Income Security Act, 29 U.S.C. §§ 1001 et seq., as amended by the Multiemployer Pension Plan

Amendments Act of 1980 (hereinafter “ERISA”).

                                      Jurisdiction and Venue

       2.      The Court has subject-matter jurisdiction of this action under 29 U.S.C. §§ 1132

and 1451(c).
            Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 2 of 12



       3.      Venue is properly laid in this Court pursuant to 29 U.S.C. § 1132(e)(2) and §

1451(d), because this is the district in which the pension plan is administered.

                                              Parties

       4.      Plaintiff Bakery and Confectionery Union and Industry International Pension

Fund (hereinafter referred to as “Pension Fund”) is a trust fund established and maintained

pursuant to Section 302(c)(5) of the Labor Management Relations Act of 1947, as amended, 29

U.S.C. § 186(c)(5). The Pension Fund is an employee benefit plan within the meaning of

Sections 3(2) and 3(3) of ERISA, 29 U.S.C. § 1002(2) and (3), and is maintained for the purpose

of providing retirement and related benefits to eligible participants. The Pension Fund is also a

multiemployer pension plan within the meaning of Section 1002(37) of ERISA, 29 U.S.C. §

1002(37). It was established and is maintained pursuant to an Agreement and Declaration of

Trust, most recently amended through June 30, 2009 (“Trust Agreement”)

       5.      Plaintiff Trustees of the Bakery and Confectionery Union and Industry

International Pension Fund (hereinafter referred to as “Plaintiff Trustees”) are fiduciaries within

the meaning of Section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and are the plan sponsor

of the Pension Fund within the meaning of Section 3(16)(B) of ERISA, 29 U.S.C. § 1002(16)(B).

       6.      All Plaintiffs maintain their principal place of business at 10401 Connecticut

Avenue, Kensington, Maryland 20895. Plaintiff Pension Fund is administered at that location,

within the District of Maryland.

       7.      Defendant Endico Potatoes, Inc. (hereinafter referred to as “Endico”) is an

employer in an industry affecting commerce within the meaning of Sections 3(5), 3(11) and

3(12) of ERISA, 29 U.S.C. § 1002(5), (11), and (12).

       8.      Endico is a corporation residing and doing business in the State of New York.




                                               -2-
            Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 3 of 12



                                        Statement of Facts

       9.      Endico was party to a series of collective bargaining agreements with the Bakery,

Confectionery, Tobacco Workers and Grain Millers International Union, Local 102 (“Local

102”), that required Endico to make contributions to the Pension Fund over a period of years

ending February 1, 2019. Those agreements, as in effect until February 1, 2019, included

Endico’s promise to be bound as a party by the Trust Agreement.

       10.     One of the collective bargaining agreements between Endico and Local 102 was

in effect for all of 2012. That agreement required Endico to make contributions to the Pension

Fund at the rate of $0.6350 per hour for all hours paid to each employee working in a job

classification covered by the collective bargaining agreement, to a maximum of 40 hours per

week for any one employee.

       11.     The collective bargaining agreement in effect between Endico and Local 102 in

2015 through 2018 expressly stated: “Contributions shall be paid from the first day the

employee begins working in a job classification covered by the Collective Bargaining Agreement

between the Employer and the Union, and shall be paid on behalf of all employees in covered job

classifications – there are no exceptions for employees who are not members of the Union,

temporary, seasonal, or part-time employees, for leased employees or for any other type of

employee.” The contribution obligation also expressly applied to each hour for which such an

employee “receives pay in lieu of work (such as holiday, vacation, pro rata vacation, and

severance pay),” up to the weekly maximum of 40 hours for any one employee.

       12.     The Pension Fund’s actuaries certified that it was in “critical status” for the plan

year 2012, as required by ERISA § 305(b)(3), as inserted by § 202 of the Pension Protection Act

of 2006 (“PPA”) and further amended, 29 U.S.C. § 1085(b)(3). As a result of that certification,




                                                -3-
          Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 4 of 12



all contributing employers were required by 29 U.S.C. § 1085(e)(7) to pay a statutory surcharge

equal to 5% of their contractual contribution rates, effective June 1, 2012.

       13.     In November 2012, the Plaintiff Trustees adopted a “Rehabilitation Plan” in

compliance with 29 U.S.C. § 1085(e)(3). The Rehabilitation Plan included two schedules of

contribution increases and benefit reductions, known respectively as the “Preferred Schedule”

and the “Default Schedule.” The Preferred Schedule required 5% annual contribution rate

increases in addition to the statutory surcharge. The Default Schedule required 10% annual

contribution rate increases in addition to the statutory surcharge.

       14.     Section VI.E of the Rehabilitation Plan, adopted in 2012 and still in effect,

provides that if an employer elects the Preferred Schedule but subsequently “enters into a

[collective bargaining agreement] under which the Employer will cease participation in the

Pension Fund,” the employer “will become retroactively subject to the Default Schedule of

contributions for the affected Account as of the date that the Preferred Schedule took effect.”

       15.     After the Trustees adopted the Rehabilitation Plan, the Pension Fund circulated

notice to contributing employers, including Endico. This notice described the contribution

schedules and other rules of the rehabilitation plan, including the provision of Section VI.E

applying to an employer that ceases participation in the Plan pursuant to a collective bargaining

agreement. The notice was accompanied by an Election Form for Employers and Locals to sign

if they agreed to the Preferred Schedule through collective bargaining. The Election Form

explicitly incorporates “all Fund rules governing contributions to the Fund set forth in the PPA

Schedules.”




                                                -4-
          Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 5 of 12



       16.     In an agreement dated December 20, 2012, Endico and Local 102 adopted the

Preferred Schedule under the Rehabilitation Plan effective December 31, 2012, using the

standard Election Form.

       17.     On January 28, 2019, the Pension Fund received notice that Endico had entered

into a collective bargaining agreement with Local 102 providing that Endico would withdraw

from participation in the Pension Fund effective February 1, 2019. As a result of that collective

bargaining agreement and the provision of the Rehabilitation Plan quoted in paragraph 14,

Endico was retroactively subject to the Default Schedule of contributions as of January 1, 2013,

when its Preferred Schedule had taken effect.

       18.     After applying the 5% statutory surcharge that was effective June 1, 2012, and the

Default Schedule’s 10% annual contribution rate increases to the $ 0.6350 contribution rate

stated in Endico’s 2012 collective bargaining agreement, the contribution rates required of

Endico beginning in 2013 were:

                  Year                       Rate

                  2013                       $0.7335 per hour

                  2014                       $0.8068 per hour

                  2015                       $0.8875 per hour

                  2016                       $0.9763 per hour

                  2017                       $1.0739 per hour

                  2018                       $1.1813 per hour

                  2019                       $1.2994 per hour




                                                -5-
          Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 6 of 12



Delinquent Contributions

        19. On April 9, 2018, an independent certified public accountant (“the auditor”)

performed an audit of Endico’s records for the calendar years 2015 through 2017, for the purpose

of determining whether Endico had paid the Pension Fund all of the contributions that its

collective bargaining agreements required. That audit report was provided to Endico, and Endico

was given an opportunity to submit any documentation that might support a challenge to the

accuracy of the auditor’s findings. Endico provided no such documentation.

        19.    The deficiency in contributions reported by the auditor was $13,392.26 for the

years 2015 through 2017.

        20.    The auditor found that the deficiency was primarily the result of Endico’s failing

to report hours paid to new employees working in covered job classifications, failing to report all

hours paid to employees working in covered job classifications, and failing to report hours of

vacation for which employees were paid. All of the unreported hours are expressly covered by

Endico’s contribution obligation, as defined in the collective bargaining agreement provisions

quoted in paragraphs 10 and 11.

        21.    The Pension Fund has demanded payment of the deficiency identified by the audit

report, but Endico has not paid any of the deficiency that it owes for the years 2015 through

2017.

        22.    At all relevant times, Article V, Section 4 of the Trust Agreement has required

payment of interest by an employer that is in default in the payment of contributions for a period

of more than ten (10) days, as well as attorney’s fees and costs incurred in enforcement of the

employer’s obligations. At the rates of interest specified in the Pension Fund’s policy on




                                               -6-
          Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 7 of 12



delinquent contributions, interest is due in the total amount of $2,727.49 through July 31, 2019,

and interest continues to accrue at the rate of 7.5%.

       Default Schedule Contribution Rate Deficiency

       23.     The Pension Fund has calculated the difference between the contributions that

Endico remitted from January 1, 2013 through January 31, 2019, at the Preferred Schedule rates

and the contributions that are retroactively owed at the Default Schedule rates. The principal

amount of that difference is $51,611.80 (not including the audit deficiencies described in

paragraphs 19-21).

       24.     By letter dated April 11, 2019, the Pension Fund notified Endico that it was

obligated to pay this amount to the Pension Fund with interest, and demanded payment within 15

days. Endico has not paid any part of this amount.

       25.     Under the Pension Fund’s policy on delinquent contributions, interest on the

principal amount of $51,611.80 was $5,332.77 as of September 6, 2019, and interest continues to

accrue at the rate of 7.5%.

Withdrawal Liability

       26.     As a result of the agreement providing for Endico’s withdrawal from the Pension

Fund, Endico permanently ceased to have an obligation to contribute to the Pension Fund as of

February 1, 2019, and incurred a “complete withdrawal” within the meaning of 29 U.S.C. §

1383(a)(1).

       27.     As a consequence of that complete withdrawal, 29 U.S.C. § 1381(a) requires

Endico to pay withdrawal liability to the Pension Fund.

       28.     The Pension Fund’s Agreement and Declaration of Trust grants the Trustees “full

authority to adopt rules and regulations setting forth procedures for the determination and




                                                -7-
             Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 8 of 12



collection of withdrawal liability.” According to those procedures, the Pension Fund made a

determination of the amount of Endico’s withdrawal liability in compliance with all applicable

statutory requirements and the rules of the Pension Fund. The Pension Fund duly notified

Endico of the determination and made a demand for payment by letter dated April 11, 2019.

That letter sets forth a schedule of installment payments that Endico is obligated to pay to the

Pension Fund in order to satisfy Endico’s withdrawal liability.

        29.     Pursuant to the schedule of payments in the April 11, 2019, letter, Endico was

required to pay monthly withdrawal liability installments of $4,599 each, beginning on June 1,

2019 and continuing for 240 months. Endico has not made any of those installment payments.

        30.     Endico has not requested review of the withdrawal liability assessment pursuant

to 29 U.S.C. § 1399(b)(2) and no arbitration proceeding has been initiated pursuant to 29 U.S.C.

§ 1401(a).

        31.     In accordance with 29 U.S.C. § 1399(c)(5)(A), the Pension Fund notified Endico

by letter dated July 2, 2019, that Endico was in default and would owe the entire amount of the

withdrawal liability immediately unless it paid the past-due installments within 60 days after

receipt of the July 2, 2019, letter.

        32.     Despite its clear, unequivocal obligations under ERISA, Endico has at all times

relevant to this suit failed and refused to pay any of the required installments of its withdrawal

liability.

        33.     Because of Endico’s default, the full amount of the withdrawal liability is due and

owing to the Pension Fund. The present value of the 240 monthly installments as of June 1,

2019, was $715,338.




                                                -8-
           Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 9 of 12



       34.     The Pension Fund is also entitled to interest on the full amount of Endico’s

withdrawal liability at rates prescribed by the Pension Benefit Guaranty Corporation, beginning

on June 1, 2019, the date of the first unpaid installment. 29 USC § 1399(c)(5); 29 C.F.R §

4219.32.

                                        Statement of Claim

                                           COUNT I
                               (Pursuant to Section 515 of ERISA)

       35.     Plaintiffs reassert all of the facts alleged in paragraphs 4 through 34.

       36.     Endico is delinquent in its obligations to the Pension Fund in the principal amount

of $13,392.26, by virtue of its failure to pay all contributions required by the collective

bargaining agreements for employees working in the bargaining unit represented by Local 102 or

paid in lieu of work, as found by the auditor for years 2015 through 2017.

       37.     Endico’s failure to make its required contributions is a violation of 29 U.S.C.

§ 1145.

       38.     Under ERISA, 29 U.S.C. § 1145 and 29 U.S.C. § 1132(g)(2), Endico is obligated

to the Pension Fund and Plaintiff Trustees to pay the full amount of its delinquent contributions

plus interest, liquidated damages, attorney’s fees, and costs of this action.

                                           COUNT II
                               (Pursuant to Section 515 of ERISA)

       39.     Plaintiffs reassert all of the facts alleged in paragraphs 4 through 34.

       40.     Pursuant to the Pension Fund’s Rehabilitation Plan, Endico is obligated to pay the

$51,611.80 difference between the contributions it remitted to the Pension Fund at the Preferred

Schedule rates and the amount that was due retroactively at Default Schedule rates for the period

from January 1, 2013 through January 31, 2019.




                                                -9-
           Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 10 of 12



       41.      Endico’s failure to pay these retroactive contributions is a violation of 29 U.S.C.

§ 1145.

       42.      Under 29 U.S.C. § 1145 and 29 U.S.C. § 1132(g)(2), Endico is obligated to the

Pension Fund and Plaintiff Trustees to pay the full amount of all delinquent contributions, plus

interest, liquidated damages, attorney’s fees, and costs of this action.

                                          COUNT III
                               (Pursuant to Section 515 of ERISA)

       43.      Plaintiffs reassert all of the facts alleged in paragraphs 4 through 34.

          44.   29 U.S.C. § 1451 provides that any failure of an employer to make a withdrawal

liability payment when due shall be treated as a delinquent contribution within the meaning of

Section 515 of ERISA, 29 U.S.C. § 1145.

          45.   29 U.S.C. § 1145 requires the court upon entering judgment in favor of a plan in

such an action to award not only the unpaid withdrawal liability, but also interest, liquidated

damages, attorneys’ fees and costs of the action. That interest, in cases where an employer

defaults on its obligation to pay withdrawal liability, is calculated on the full amount of the

outstanding withdrawal liability from the due date of the first installment payment that was not

timely made. 29 U.S.C. § 1399(c)(5). In this case, that date was June 1, 2019.

          46.   The Pension Fund is therefore entitled to judgment against Endico in the full

amount of $715,338, plus interest on that amount from June 1, 2019, plus liquidated damages,

attorneys’ fees, and costs of this action.




                                                - 10 -
         Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 11 of 12



                                         Prayer for Relief

       WHEREFORE, Plaintiff Pension Fund and Plaintiff Trustees demand judgment from

Endico as follows:

       1.      A judgment in the full amount of the contribution deficiency Endico owes for

employees performing work or receiving pay in lieu of work in job classifications covered by the

collective bargaining agreement, for periods from January 1, 2015 to December 31, 2017, at the

rates required by the Default Schedule, together with interest to the date of judgment and

liquidated damages;

       2.      A judgment in the full amount of the difference between the contributions Endico

remitted at Preferred Schedule rates and the retroactively applicable Default Schedule rates for

periods January 1, 2013 through January 31, 2019, as required by the Rehabilitation Plan,

together with interest to the date of judgment and liquidated damages;

       3.      A judgment in the full amount of the withdrawal liability owed by Endico,

together with interest to the date of judgment and liquidated damages;

       4.      Attorneys’ fees and costs of the action; and

       5.      Such other legal and equitable relief to which Plaintiffs are entitled.

                                              Respectfully submitted,


                                              /s/ Julia Penny Clark____________
                                              Julia Penny Clark (Bar No. 12401)
                                              Ramya Ravindran*
                                              Joshua A. Rosenthal†
                                              Bredhoff & Kaiser, P.L.L.C.
                                              805 Fifteenth Street, N.W.
                                              Suite 1000
                                              Washington, D.C. 20005
                                              Counsel for Plaintiffs

* Application forthcoming for membership in the District of Maryland bar.



                                               - 11 -
           Case 1:19-cv-02800-JKB Document 1 Filed 09/23/19 Page 12 of 12


†
    Admitted in New York and California, practicing in the District of Columbia under supervision.




                                               - 12 -
